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                             9

                            10                   UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                            11
Kaye, Rose & Partners LLP




                            12   TMF TRUSTEE LIMITED,                        Case No.: 2:17-cv-9010-AGR

                            13                      Plaintiff,               IN ADMIRALTY
                            14   v.
                                                                             HURRICANE’S EX PARTE
                            15   M/T MEGACORE PHILOMENA,                     APPLICATION AND NOTICE OF
                            16   her engines, boilers, tackles, and          EX PARTE APPLICATION TO
                                 other appurtenances, etc., in rem;          RECONSIDER ORDER OF
                            17   HURRICANE NAVIGATION INC.,                  INTERLOCUTORY SALE OF
                            18   a Marshall Islands Corporation, in          VESSEL
                                 personam,
                            19                                               Room:           550
                            20                      Defendants.              Judge:          Hon. Alicia G. Rosenberg
                            21                                               Telephonic hearing requested
                            22
                                 And related cross-actions.
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                                                          HURRICANE’S EX PARTE APPLICATION, NOTICE OF
                                                     APPLICATION, RECONSIDERATION OF ORDER TO SELL VESSEL
                            Case 2:17-cv-09010-AGR Document 269 Filed 08/15/18 Page 2 of 4 Page ID #:8142



                             1         PLEASE TAKE NOTICE THAT, under Local Rules 7-18 and 7-19 of the
                             2   Central District of California, as well as Federal Rules of Civil Procedure Rules
                             3   59(e) and 60(b), defendant and counter-claimant Hurricane Navigation Inc.
                             4   applies ex parte for reconsideration of the Court’s order granting TMF’s request
                             5   for interlocutory sale of the vessel. That sale is presently set to take place at
                             6   10:00 am on September 11, 2018.
                             7         Hurricane brings the instant motion for reconsideration on an ex parte
                             8   basis because doing so by regular noticed motion would not allow the motion to
                             9   be heard and decided before the scheduled sale date of September 11, 2018. The
                            10   newly-acquired evidence must be brought before the Court well in advance of the
                            11   sale date: In the event that the Court affirms its August 7, 2018 Order granting
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                            12   TMF’s motion for sale, Hurricane will be appealing the adverse judgment to the
                            13   Ninth Circuit and then immediately seeking a stay of that Order. Any delay in the
                            14   deciding of the instant motion for reconsideration would unduly prejudice
                            15   Hurricane’s ability to obtain that stay. It is therefore imperative that the instant
                            16   motion be heard and decided without delay.
                            17         In full compliance with the Local Rules, and as described in greater detail
                            18   in the accompanying declaration of Frank C. Brucculeri, counsel for Hurricane
                            19   met and conferred with counsel for TMF about the substance and procedure
                            20   involved in this ex parte application.
                            21         Additionally, in accordance with Local Rule 7-19, the name, address,
                            22   telephone numbers, and email addresses of counsel for other parties in this action
                            23   are as follows:
                            24   //
                            25   //
                            26   //
                            27   //
                            28   //
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                                                           HURRICANE’S EX PARTE APPLICATION, NOTICE OF
                                                      APPLICATION, RECONSIDERATION OF ORDER TO SELL VESSEL
                            Case 2:17-cv-09010-AGR Document 269 Filed 08/15/18 Page 3 of 4 Page ID #:8143



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                            26   Attorneys for Plaintiff-Intervenor:              SAM
                                 DAN-BUNKERING (MONACO) SM.
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                                                           HURRICANE’S EX PARTE APPLICATION, NOTICE OF
                                                      APPLICATION, RECONSIDERATION OF ORDER TO SELL VESSEL
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                            10   AGENCY, INC.,
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                            11   INC.
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                            14
                                 Dated: August 15, 2018                    KAYE, ROSE & PARTNERS, LLP
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                            16
                                                                           By: /s/ Frank C. Brucculeri
                            17                                                Frank C. Brucculeri
                            18                                                Bradley M. Rose
                                                                              Attorneys for Defendant and
                            19                                                Counter-claimant
                            20                                                HURRICANE NAVIGATION INC.
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                                                         HURRICANE’S EX PARTE APPLICATION, NOTICE OF
                                                    APPLICATION, RECONSIDERATION OF ORDER TO SELL VESSEL
